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                                                                        Page 1

   1                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
   2
   3
             TROY CLOWDUS,
   4
                      Plaintiff,
   5                                                           CASE NO.
            V.                                                 1:21-CV-23155(MM)
   6
                                                               CIVIL ACTION
   7
            AMERICAN AIRLINES, INC.,
   8
                      Defendant.
   9         ------------------------------/
  10
  11
                 VIDEOTAPED DEPOSITION OF FEDERICO QUINTANA-VALLEJO
  12                       (Conducted Via Videoconference)
  13
  14
                   DATE:              March 22, 2022
  15
  16
  17              TIME:                1:05 p.m. to 3:25 p.m.
  18
  19
                   REPORTED BY:        TRICIA J. MARCH
  20                                   Notary Public
                                       State of Florida
  21
  22
  23
  24
  25             Job No. CS5141192

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                                                                    Page 2

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   5                  Attorney for Plaintiff
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   7       KELLY H. KOLB, ESQUIRE
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                      Attorney for Defendant
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  11
           ALSO PRESENT:
  12
           TIMOTHY LENZ, VIDEOGRAPHER
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   1             A.    Yes.

   2             Q.    Okay.      I was -- I was not certain of that .

   3                   On -- on the flight that morning, were you

   4       were you flying on a buddy pass?

   5             A.    What does that mean?

   6             Q.    Had anybody given you a ticket that would

   7       enable you to fly?

   8             A.    Yes .    My      my mother paid -- paid; paid for

   9       my plane ticket home.

  10             Q.    Your mother paid for it .

  11                   And do you have -- do you have an American

  12       Advantage account?

  13             A.    What does that mean?

  14             Q.    Are you a member of American Airlines'

  15       frequent flyer program?

  16             A.    No.

  17             Q.    Okay.     All right.       Have you ever worked for

  18       American Airlines?

  19             A.    I have not.

  20             Q.    Have you ever met the -- the flight attendant,

  21       who you described this morning, before the flight in

  22       question?

  23             A.    No,     I have not.

  24             Q.    Do you know any of the flight attendants or

  25       other staff on the plane that morning?

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   1       the -- I don't decide who goes into which boarding group.

   2             Q.    When you -- when you fly back and forth to

   3       Mexico, do you normally fly business class?

   4             A.    No.

   5             Q.    Why were you flying business class today --

   6       that day?

   7             A.    It's just -- that's -- that's -- that's the --

   8       that's the seat that I was assigned.

   9             Q.    Well, it's a much more expensive ticket, and

  10       I'm asking you if you normally spend money on that much

  11       more expensive ticket for

  12             A.    It's my mother who buys my tickets for me .

  13                   MR. KOLB:    Objection.

  14                   Asked and answered, yet again.

  15             Q.    Do you know why she bought you business class

  16       that day?

  17             A.    I do not know.

  18             Q.    Okay.   Have you flown in business class

  19       before?

  20             A.    Yes, I have .

  21             Q.    Okay.   About how many times?

  22             A.    Maybe four -- five or six, maybe.

  23             Q.    Okay.   So out of all the times you fly, would

  24       you say it's -- it's fifty-fifty or most of the time

  25       business class?

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